             Case 3:05-cr-00395-CRB         Document 284      Filed 03/16/06         Page 1 of 1



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5                               IN THE UNITED STATES DISTRICT COURT
6                              IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
7
     UNITED STATES OF AMERICA,           )                No. CR05-0395CRB
8                                        )                (PROPOSED) ORDER EXONERATING
                 Plaintiff,              )                BAIL
9                                        )
                 vs.                     )
10                                       )
     YOUNG JOO LEE                       )
11                                       )
                                         )
12               Defendants.             )
     ____________________________________)
13

14            WHEREFORE GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT the bond
15   posted in the above-entitled matter is exonerated.
16   SO ORDERED.
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     DATED: March 16, 2006                                Hon. CHARLES R. BRYER                D
                                                          United States District JudgeO ORDERE
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     Order to Exonerate Bail
     CR05-0395CRB
